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Steven F. Molo, Esq.
Justin M. Ellis, Esq.
Caleb Hayes-Deats, Esq.
MOLOLAMKEN LLP
430 Park Avenue
New York, NY 10022
Telephone: (212) 607-8160
Facsimile: (212) 607-8161

Special Litigation Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    REVLON, INC., et al.,1                                          )    Case No. 22-10760 (DSJ)
                                                                    )
                                       Debtors.                     )    (Jointly Administered)
                                                                    )

         FIRST MONTHLY FEE STATEMENT OF MOLOLAMKEN LLP FOR
     COMPENSATION FOR SERVICES RENDERED AS ATTORNEYS FOR DEBTORS
            FOR PERIOD FROM JUNE 10, 2022 THROUGH JULY 31, 2022




1
      The last four digits of Debtor Revlon, Inc.’s tax identification number are 2955. Due to the large number of
      debtor entities in these Chapter 11 Cases, for which the Court has granted joint administration, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/Revlon. The location of the Debtors’ service address for purposes of these Chapter 11
      Cases is: One New York Plaza, New York, NY 10004.
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    Name of Applicant:                                         MoloLamken LLP

    Authorized to Provide Professional                         Debtors and Debtors in Possession, as Special
    Services to:                                               Litigation Counsel

    Date of Retention:                                         July 21, 2022, nunc pro tunc to June 15, 2022

    Period for which compensation and                          June 10, 2022 through July 31, 2022
    reimbursement is sought:

    Monthly Fees Incurred:                                     $97,690.00

    20% Holdback:                                              $19,538.00

    Total Compensation Less 20% Holdback:                      $78,152.00

    Monthly Expenses Incurred:                                 $0

    Total Fees and Expenses Due:                               $78,152.00

    This is a:   x monthly ____ interim ____                   final application



          Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of New York (the “Local Rules”), the Order

Authorizing the Retention and Employment of MoloLamken as Special Litigation Counsel for the

Debtors and Debtors in Possession Nunc Pro Tunc to the Petition Date [ECF No. 258] (the

“Retention Order”), and the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals [ECF No. 259] (the “Interim

Compensation Order”),2 MoloLamken LLP (“MoloLamken”), Special Litigation Counsel for the

above-captioned debtors and debtors in possession (collectively, the “Debtors”) hereby submits



2
      Capitalized terms used herein but not otherwise defined herein have the meanings ascribed to them in the Interim
      Compensation Order.

                                                           2
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this first monthly fee statement (the “First Monthly Fee Statement”), seeking compensation for

services rendered as Special Litigation Counsel to the Debtors, for the period from June 10, 2022

through July 31, 2022 (the “First Monthly Fee Period”). By this First Monthly Fee Statement,

MoloLamken seeks payment in the amount of $78,152.00 which represents eighty percent (80%)

of the total amount of compensation sought for actual and necessary services rendered during the

First Monthly Fee Period. The current unused portion of the Debtors’ retainer with MoloLamken

is $37,346.50.3 MoloLamken is not seeking reimbursement of any actual and necessary expenses

incurred in the First Monthly Fee Period.

                              Services Rendered and Expenses Incurred

        1.       Attached as Exhibit A is a summary of MoloLamken’s professionals by individual,

setting forth the (i) name and title of each individual who provided services in connection with the

Chapter 11 Cases during the First Monthly Fee Period, (ii) aggregate hours spent by each

individual, (iii) hourly billing rate for each such individual at MoloLamken’s current billing rates,

(iv) amount of fees earned by each MoloLamken professional, and (v) the year of bar admission

for each attorney. The blended hourly billing rate of MoloLamken attorneys during the First

Monthly Fee Period is approximately $1104.25 per hour. The hourly rate of legal assistants during

the First Monthly Fee Period is $295 per hour.

        2.       Attached as Exhibit B is a summary of the services rendered and compensation

sought, by project category, for the First Monthly Fee Period

        3.       Attached as Exhibit C is an itemized time detail of MoloLamken professionals for

the First Monthly Fee Period and summary materials related thereto.




3
    The initial amount of the retainer was $50,000. Following entry of the Retention Order, that amount was reduced
    by $12,653.50 in pre-petition fees that the Debtors incurred.

                                                        3
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        4.      Attached as Exhibit D is an itemized time detail of MoloLamken professionals for

the First Monthly Fee Period, broken out by task code.4

                                   Notice and Objection Procedures

        Notice of this First Monthly Fee Statement shall be given by hand or overnight delivery or

email where available upon (i) Revlon, Inc., One New York Plaza, New York, NY 10014,

Attention: Andrew Kidd, Esq.; (ii) Debtors’ Counsel, Paul, Weiss, Rifkind, Wharton & Garrison,

LLP, 1285 Avenue of the Americas, New York, NY, 10019, Attention: Robert A. Britton, Esq.;

(iii) the Office of the United States Trustee Region 2, 201 Varick Street, Suite 1006, New York,

NY 10014 Attention: Brian Masumoto, Esq.; (iv) counsel to the Official Committee of Unsecured

Creditors, Brown Rudnick LLP, 7 Times Square, New York, NY 10036, Attention: Robert J. Stark,

Esq. and Bennett S. Silverberg, Esq.; (v) counsel to the ad hoc group of term lenders, Davis Polk

& Wardwell LLP, 450 Lexington Avenue, New York, NY 10017, Attention: Eli J. Vonnegut, Esq.

        Objections to this First Monthly Fee Statement, if any, must be filed with the Court and

served upon the Notice Parties so as to be received no later than September 6, 2022 (the

“Objection Deadline”), setting forth the nature of the objection and the amount of fees or expenses

at issue (an “Objection”).

        If no objections to this First Monthly Fee Statement are filed and served as set forth above,

the Debtors shall promptly pay eighty percent (80%) of the fees and one hundred percent (100%)

of the expenses identified herein.

        If an objection to this First Monthly Fee Statement is received on or before the Objection

Deadline, the Debtors shall withhold payment of that portion of this First Monthly Fee Statement



4
    The task codes correspond to the ABA Bankruptcy Code Set and ABA Litigation Code Set. Codes beginning
    with “L” are in the Litigation Code Set and grouped under the category “Adversary Proceedings and Contested
    Matters” in Exhibit B.

                                                      4
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to which the objection is directed and promptly pay the remainder of the fees and disbursements

in the percentages set forth above. To the extent such an objection is not resolved, it shall be

preserved and scheduled for consideration at the next interim fee application hearing to be heard

by the Court.

Dated:   August 22, 2022
         New York, New York

                                     MOLOLAMKEN LLP

                                     /s/ Steven F. Molo
                                     Steven F. Molo, Esq.
                                     Justin M. Ellis, Esq.
                                     Caleb Hayes-Deats, Esq.
                                     MOLOLAMKEN LLP
                                     430 Park Avenue
                                     New York, NY 10022
                                     Telephone: (212) 607-8160
                                     Facsimile: (212) 607-8161
                                     smolo@mololamken.com
                                     jellis@mololamken.com
                                     chayes-deats@mololamken.com

                                     Special Litigation Counsel for Debtors




                                               5
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                                          Exhibit A

                               Compensation by Professional

  NAME                            TITLE / YEAR OF             HOURS     RATE        FEE
                                  ADMISSION TO THE
                                  NEW YORK BAR
 1. Steven Molo                  Partner / 2004               19.20     $1,850   $35,520.00

 2. Justin Ellis                 Partner / 2011               27.60     $1,000   $27,600.00

 3. Caleb Hayes-Deats            Partner / 2012                4.00     $900      $3,600.00

 4. Joshua D. Bloom              Associate / 2014             35.60     $825     $29,370.00

 5. Ryan Yeh                     Associate / 2018              1.80     $725      $1,305.00

 6. Joseph Fraser                Legal Assistant               1.00     $295       $295.00

     TOTALS                                                   89.20              $97,690.00
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                                             Exhibit B

                              Compensation by Project Category

           AGGREGATE TIME SUMMARY BY PROJECT CATEGORY
         FOR THE PERIOD FROM JUNE 10, 2022 THROUGH JULY 31, 2022

 Task                       Project Category
                                                           Total Hours    Total Fees ($)
 Code
 L100- Adversary Proceedings and Contested Matters
 L530                                                              53.1       $66,575.00
        Asset Sales and Dispositions
        Automatic Stay Matters
        Business Operations
 B110 Case Administration                                          0.60          $600.00
        Chapter 11 Filing
        Claims Administration and Objections
        Corporate Governance and Board Matters
        Corporate and Securities Matters
        Creditor and Stakeholder Issues
        DIP / Cash Collateral / Exit Financing
        Employee Matters
        Executory Contracts and Leases
 B160 Fee/Employment Applications                                 35.50       $30,515.00
        Insurance Matters
        International/Cross-Border Issues
        Investigation of Potential Claims
        Plan and Disclosure Statement
        Schedules and Statements
        Tax Issues
        Travel Time
        U.S. Trustee Communications and Issues
        Use, Sale, and Lease of Property
        Utilities Issues
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       Vendor/Supplier Matters

       TOTAL                                                  89.20       $97,690.00




                                         2
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                                    Exhibit C

                               Itemized Time Detail
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430 Park Avenue,New York,NY 10022
600 New Hampshire Avenue,N.W., Washington, D.C. 20037
300 North LaSalle, Chicago, IL 60654



                                                                                                                 Invoice No. 11720
                                                                                                                   August 22, 2022
Revlon
Andrew Kidd
Executive Vice President and General Counsel
Revlon
One New York Plaza
New York, NY 10004


                                                          INVOICE
                                             For Services Through July 31, 2022

2026-001: Citi Litigation

                                                        Professional Fees
Date             Professional                                                                                               Hours
6/10/2022        Molo              Review background information.                                                            1.50
6/14/2022        Bloom             Conference with S. Molo and Paul Weiss attorneys to discuss                               3.80
                                   background information; prepare and email summary of same to S. Molo,
                                   J. Ellis, and R. Yeh.
6/15/2022        Ellis             Attention to potential DIP challenge; review materials in advance of first-               0.80
                                   day hearing.
6/15/2022        Molo              Review materials and prepare for first-day hearing.                                       1.20
6/16/2022        Bloom             Attend portion of first-day hearing.                                                      2.70
6/16/2022        Ellis             Attend, prepare for first-day hearing.                                                    5.10
6/16/2022        Yeh               Review bankruptcy rules re: notice of appearance.                                         0.50
6/16/2022        Molo              Prepare for and attend first-day hearing; emails with Paul Weiss.                         5.50
6/17/2022        Bloom             Begin drafting MoloLamken retention application.                                          2.10
6/17/2022        Ellis             Attend portion of first-day continued hearing.                                            4.10
6/17/2022        Ellis             Review credit agreement.                                                                  1.50
6/17/2022        Fraser            Review list of entities for bankruptcy disclosure for J. Bloom; run                       1.00
                                   additional conflicts checks for J. Bloom.
6/17/2022        Molo              Prepare for and attend continued first day hearing.                                       5.60
6/19/2022        Ellis             Review credit agreement.                                                                  1.10
6/21/2022        Bloom             Begin review of conflicts reports and email responses regarding                           4.50
                                   connections to interested parties; Review and revise draft rentention
                                   application.
6/22/2022        Bloom             Complete review of conflicts reports and conflicts email responses;                       3.90
                                   Review, revise, and finalize draft retention application and discuss same
                                   with J. Ellis.
6/22/2022        Ellis             Review retention application and discuss same with J. Bloom.                              1.80
6/24/2022        Bloom             Review additional interested party names from Revlon and coordinate with                  1.60
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Molo Lamken LLP                                                                                            Page: 2
                           T. Wertime and S. Babecka to run necessary conflicts checks regarding
                           the same.
6/26/2022    Bloom         Review and revise retention application based on comments from J. Ellis            5.80
                           and additional interested party names provided by Revlon.
6/27/2022    Hayes-Deats   Phone conference with J. Ellis regarding case and potential assignments;           1.40
                           review memorandum concerning potential claims to assert or defend
                           against on behalf of estate.
6/27/2022    Bloom         Review conflicts responses and revise retention application.                       1.90
6/27/2022    Ellis         Edit retention application.                                                        2.10
6/27/2022    Ellis         Review background memorandum re: potential claims.                                 2.60
6/27/2022    Molo          Review retention application.                                                      0.50
6/28/2022    Hayes-Deats   Review memo discussing potential claims to assert or defend against on             0.90
                           behalf of estate; video conference with Paul Weiss attorneys; phone
                           conference with S. Molo, J. Ellis, and J. Bloom about research and
                           preparation.
6/28/2022    Ellis         Meetings with Paul Weiss, team re: strategy.                                       0.90
6/28/2022    Molo          Conference with Paul Weiss team and MoloLamken team re: research                   0.90
                           and key issues; follow up.
6/29/2022    Hayes-Deats   Listen to recording of relevant court hearings; review background material.        0.90
6/29/2022    Bloom         Listen to recording of relevant court hearings and review briefing regarding       1.50
                           the same.
6/29/2022    Bloom         Review and revise retention application.                                           0.40
6/29/2022    Ellis         Review recording of relevant court hearings, research re: potential claims.        1.00
6/29/2022    Ellis         Edit retention application.                                                        0.70
6/30/2022    Hayes-Deats   Phone conference with S. Molo, J. Ellis, and J. Bloom about parallel               0.80
                           litigation and potential strategies.
6/30/2022    Bloom         Review background memo re: potential claims; call with S. Molo, J. Ellis,          1.60
                           and C. Hayes-Deats to discuss parallel litigation and potential next steps.
6/30/2022    Bloom         Review proposed changes to retention application.                                  0.40
6/30/2022    Ellis         Review materials re: parallel litigationl; discuss same with team.                 1.20
6/30/2022    Molo          Conference with MoloLamken team re: strategy; review issues re: parallel           2.00
                           litigation.
7/5/2022     Bloom         Review relevant court hearings in parallel litigation.                             1.10
7/5/2022     Bloom         Review and revise retention application.                                           1.00
7/5/2022     Ellis         Edit retention application; internal communication re: same.                       0.30
7/6/2022     Bloom         Review and revise retention application; file same.                                3.30
7/6/2022     Ellis         Edit retention application and prepare for filing.                                 0.60
7/6/2022     Yeh           Review fee application procedure and correspondence with J. Ellis et al.           0.50
                           re: same.
7/8/2022     Ellis         Discuss budgeting estimates with Alvarez & Marsal team.                            0.40
7/11/2022    Ellis         Update budget for Alvarez & Marsal.                                                0.20
7/13/2022    Ellis         Emails with J. Bloom, research re: retention application.                          0.30
7/21/2022    Ellis         Arrange for coverage of, prepare for court hearing re: retention application.      0.60
7/21/2022    Ellis         Develop plan for retention applications.                                           1.20
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Molo Lamken LLP                                                                                               Page: 3
7/21/2022    Yeh             Correspondence with J. Ellis and J. Bloom re: fee applications; review               0.80
                             interim fee order.
7/21/2022    Molo            Emails re: hearing; review material.                                                 1.00
7/25/2022    Molo            Review background material and emails re: hearing.                                   1.00
7/30/2022    Ellis           Prepare fee application.                                                             1.10
                                                                                              Total Hours        89.20
                                                                                              Total Fees    $97,690.00


                                             Timekeeper Summary
             Josh Bloom                                 35.60 hours at 825.00/hr               29,370.00
             Justin Ellis                               27.60 hours at 1,000.00/hr             27,600.00
             Joseph Fraser                               1.00 hours at 295.00/hr                  295.00
             Caleb Hayes-Deats                           4.00 hours at 900.00/hr                3,600.00
             Steven Molo                                19.20 hours at 1,850.00/hr             35,520.00
             Ryan Yeh                                    1.80 hours at 725.00/hr                1,305.00




                                                     Summary
                                                                      Fees                                   97,690.00
                                                                      Expenses                                    0.00
                                                                      Total Current Billing                 $97,690.00
                                                                        Payments Received                         0.00
                                                                        Write-off                                 0.00
                                                                      Total Amount Due:                     $97,690.00
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430 Park Avenue, New York, NY 10022
600 New Hampshire Avenue, N.W., Washington, D.C. 20037
300 North LaSalle, Chicago, IL 60654


                                                 REMITTANCE PAGE
                                        For Services Through July 31, 2022

                                                                                                  Invoice No. 11720
Revlon                                                                                              August 22, 2022
Andrew Kidd
Executive Vice President and General Counsel
Revlon
One New York Plaza
New York, NY 10004




                                                                   Total Fees This Statement:          $97,690.00
                                                              Total Expenses This Statement:                $0.00
                                                                         Total Current Billing:        $97,690.00
                                                                       Previous Balance Due:                $0.00
                                                                             Total Now Due:            $97,690.00



                Domestic Wire Transfer:                               International Wire Transfer:


           Account Name: MoloLamken LLP                          Account Name: MoloLamken LLP
                 Bank info Signature Bank                               Bank info Wells Fargo Bank
                           6400 N. Northwest Hwy                                  420 Montgomery
                           Chicago, IL 60631                                      San Francisco, CA 94104
          Routing Number: 071-026-628                           Routing Number: 121-000-248
          Account Number: 7000015810                           Account Number: 5231560185
                                                            International SWIFT: WFBIUS6S
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                                    Exhibit D

                         Itemized Time Detail by Task Code
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                                              Molo Lamken LLP
                                                             ML Listing
Date        Prof      Matter ID/Client Sort                           Activity   Component   Statement      Price    Extended
                      Matter Description                              Code       Task Code        Units               Amount
                      Narrative


Client Sort: Revlon

06/10/2022 SFM        2026-001/ Revlon                                           T                1.50    1,850.00    2,775.00
                      Citi Litigation                                            L100
                      Review background information.
06/14/2022 JB         2026-001/ Revlon                                           T                3.80     825.00     3,135.00
                      Citi Litigation                                            L100
                      Conference with S. Molo and Paul Weiss
                      attorneys to discuss background information;
                      prepare and email summary of same to S.
                      Molo, J. Ellis, and R. Yeh.
06/15/2022 JME        2026-001/ Revlon                                           T                0.80    1,000.00     800.00
                      Citi Litigation                                            L450
                       Attention to potential DIP challenge; review
                      materials in advance of first-day hearing.
06/15/2022 SFM        2026-001/ Revlon                                           T                1.20    1,850.00    2,220.00
                      Citi Litigation                                            L100
                      Review materials and prepare for first-day
                      hearing.
06/16/2022 JME        2026-001/ Revlon                                           T                5.10    1,000.00    5,100.00
                      Citi Litigation                                            L450
                       Attend, prepare for first-day hearing.
06/16/2022 RY         2026-001/ Revlon                                           T                0.50     725.00      362.50
                      Citi Litigation                                            L100
                      Review bankruptcy rules re: notice of
                      appearance.
06/16/2022 JB         2026-001/ Revlon                                           T                2.70     825.00     2,227.50
                      Citi Litigation                                            L450
                      Attend portion of first-day hearing.
06/16/2022 SFM        2026-001/ Revlon                                           T                5.50    1,850.00   10,175.00
                      Citi Litigation                                            L450
                      Prepare for and attend first-day hearing;
                      emails with Paul Weiss.




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                                        Molo Lamken LLP
                                                      ML Listing
Date      Prof   Matter ID/Client Sort                             Activity   Component   Statement      Price    Extended
                 Matter Description                                Code       Task Code        Units               Amount
                 Narrative


06/17/2022 JMF   2026-001/ Revlon                                             T                1.00     295.00      295.00
                 Citi Litigation                                              B160
                 Review list of entities for bankruptcy
                 disclosure for J. Bloom; run additional
                 conflicts checks for J. Bloom
06/17/2022 JME   2026-001/ Revlon                                             T                4.10    1,000.00    4,100.00
                 Citi Litigation                                              L450
                  Attend portion of first-day continued hearing.
06/17/2022 JB    2026-001/ Revlon                                             T                2.10     825.00     1,732.50
                 Citi Litigation                                              B160
                 Begin drafting MoloLamken retention
                 application
06/17/2022 SFM   2026-001/ Revlon                                             T                5.60    1,850.00   10,360.00
                 Citi Litigation                                              L450
                 Prepare for and attend continued first day
                 hearing.
06/17/2022 JME   2026-001/ Revlon                                             T                1.50    1,000.00    1,500.00
                 Citi Litigation                                              L120
                 Review credit agreement.
06/19/2022 JME   2026-001/ Revlon                                             T                1.10    1,000.00    1,100.00
                 Citi Litigation                                              L120
                  Review credit agreement.
06/21/2022 JB    2026-001/ Revlon                                             T                4.50     825.00     3,712.50
                 Citi Litigation                                              B160
                 Begin review of conflicts reports and email
                 responses regarding connections to interested
                 parties; Review and revise draft rentention
                 application
06/22/2022 JME   2026-001/ Revlon                                             T                1.80    1,000.00    1,800.00
                 Citi Litigation                                              B160
                  Review retention application and discuss
                 same with J. Bloom.




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                                         Molo Lamken LLP
                                                       ML Listing
Date      Prof   Matter ID/Client Sort                              Activity   Component   Statement      Price    Extended
                 Matter Description                                 Code       Task Code        Units               Amount
                 Narrative


06/22/2022 JB    2026-001/ Revlon                                              T                3.90     825.00     3,217.50
                 Citi Litigation                                               B160
                 Complete review of conflicts reports and
                 conflicts email responses; Review, revise, and
                 finalize draft retention application and discuss
                 same with J. Ellis.
06/24/2022 JB    2026-001/ Revlon                                              T                1.60     825.00     1,320.00
                 Citi Litigation                                               B160
                 Review additional interested party names from
                 Revlon and coordinate with T. Wertime and S.
                 Babecka to run necessary conflicts checks
                 regarding the same
06/26/2022 JB    2026-001/ Revlon                                              T                5.80     825.00     4,785.00
                 Citi Litigation                                               B160
                 Review and revise retention application based
                 on comments from J. Ellis and additional
                 interested party names provided by Revlon
06/27/2022 CHD   2026-001/ Revlon                                              T                1.40     900.00     1,260.00
                 Citi Litigation                                               L120
                 Phone conference with J. Ellis regarding case
                 and potential assignments; review
                 memorandum concerning potential claims to
                 assert or defend against on behalf of estate.
06/27/2022 JME   2026-001/ Revlon                                              T                2.10    1,000.00    2,100.00
                 Citi Litigation                                               B160
                  Edit retention application.
06/27/2022 JB    2026-001/ Revlon                                              T                1.90     825.00     1,567.50
                 Citi Litigation                                               B160
                 Review conflicts responses and revise
                 retention application
06/27/2022 SFM   2026-001/ Revlon                                              T                0.50    1,850.00     925.00
                 Citi Litigation                                               B160
                 Review retention application.




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                                        Molo Lamken LLP
                                                      ML Listing
Date      Prof   Matter ID/Client Sort                             Activity   Component   Statement      Price    Extended
                 Matter Description                                Code       Task Code        Units               Amount
                 Narrative


06/27/2022 JME   2026-001/ Revlon                                             T                2.60    1,000.00    2,600.00
                 Citi Litigation                                              L190
                 Review background memorandum re:
                 potential claims.
06/28/2022 CHD   2026-001/ Revlon                                             T                0.90     900.00      810.00
                 Citi Litigation                                              L120
                 Review memo discussing potential claims to
                 assert or defend against on behalf of estate;
                 video conference with Paul Weiss attorneys;
                 phone conference with S. Molo, J. Ellis, and J.
                 Bloom about research and preparation.
06/28/2022 JME   2026-001/ Revlon                                             T                0.90    1,000.00     900.00
                 Citi Litigation                                              L120
                  Meetings with Paul Weiss, team re: strategy.
06/28/2022 SFM   2026-001/ Revlon                                             T                0.90    1,850.00    1,665.00
                 Citi Litigation                                              L190
                 Conference with Paul Weiss team and
                 MoloLamken team re: research and key
                 issues; follow up.
06/29/2022 JME   2026-001/ Revlon                                             T                1.00    1,000.00    1,000.00
                 Citi Litigation                                              L190
                  Review recording of relevant court hearings,
                 research re: potential claims.
06/29/2022 CHD   2026-001/ Revlon                                             T                0.90     900.00      810.00
                 Citi Litigation                                              L120
                 Listen to recording of relevant court hearings;
                 review background material.
06/29/2022 JB    2026-001/ Revlon                                             T                1.50     825.00     1,237.50
                 Citi Litigation                                              L100
                 Listen to recording of relevant court hearings
                 and review briefing regarding the same
06/29/2022 JB    2026-001/ Revlon                                             T                0.40     825.00      330.00
                 Citi Litigation                                              B160
                 Review and revise retention application



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                                                         ML Listing
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                 Matter Description                                 Code       Task Code        Units               Amount
                 Narrative


06/29/2022 JME   2026-001/ Revlon                                              T                0.70    1,000.00     700.00
                 Citi Litigation                                               B160
                 Edit retention application.
06/30/2022 JB    2026-001/ Revlon                                              T                1.60     825.00     1,320.00
                 Citi Litigation                                               L190
                 Review background memo re: potential
                 claims; call with S. Molo, J. Ellis, and C.
                 Hayes-Deats to discuss parallel litigation and
                 potential next steps.
06/30/2022 JB    2026-001/ Revlon                                              T                0.40     825.00      330.00
                 Citi Litigation                                               B160
                 Review proposed changes to retention
                 application
06/30/2022 CHD   2026-001/ Revlon                                              T                0.80     900.00      720.00
                 Citi Litigation                                               L120
                 Phone conference with S. Molo, J. Ellis, and J.
                 Bloom about parallel litigation and potential
                 strategies.
06/30/2022 JME   2026-001/ Revlon                                              T                1.20    1,000.00    1,200.00
                 Citi Litigation                                               L190
                  Review materials re: parallel litigationl;
                 discuss same with team.
06/30/2022 SFM   2026-001/ Revlon                                              T                2.00    1,850.00    3,700.00
                 Citi Litigation                                               L120
                 Conference with MoloLamken team re:
                 strategy; review issues re: parallel litigation.
07/05/2022 JME   2026-001/ Revlon                                              T                0.30    1,000.00     300.00
                 Citi Litigation                                               L160
                  Edit retention application; internal
                 communication re: same.
07/05/2022 JB    2026-001/ Revlon                                              T                1.10     825.00      907.50
                 Citi Litigation                                               L190
                 Review relevant court hearings in parallel
                 litigation.



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                                                       ML Listing
Date      Prof   Matter ID/Client Sort                           Activity   Component   Statement      Price    Extended
                 Matter Description                              Code       Task Code        Units               Amount
                 Narrative


07/05/2022 JB    2026-001/ Revlon                                           T                1.00     825.00      825.00
                 Citi Litigation                                            B160
                 Review and revise retention application.
07/06/2022 JME   2026-001/ Revlon                                           T                0.60    1,000.00     600.00
                 Citi Litigation                                            B160
                  Edit retention application and prepare for
                 filing.
07/06/2022 RY    2026-001/ Revlon                                           T                0.50     725.00      362.50
                 Citi Litigation                                            B160
                 Review fee application procedure and
                 correspondence with J. Ellis et al. re: same.
07/06/2022 JB    2026-001/ Revlon                                           T                3.30     825.00     2,722.50
                 Citi Litigation                                            B160
                 Review and revise retention application; file
                 same
07/08/2022 JME   2026-001/ Revlon                                           T                0.40    1,000.00     400.00
                 Citi Litigation                                            B110
                  Discuss budgeting estimates with Alvarez &
                 Marsal team.
07/11/2022 JME   2026-001/ Revlon                                           T                0.20    1,000.00     200.00
                 Citi Litigation                                            B110
                  Update budget for Alvarez & Marsal.
07/13/2022 JME   2026-001/ Revlon                                           T                0.30    1,000.00     300.00
                 Citi Litigation                                            B160
                  Emails with J. Bloom, research re: retention
                 application.
07/21/2022 RY    2026-001/ Revlon                                           T                0.80     725.00      580.00
                 Citi Litigation                                            B160
                 Correspondence with J. Ellis and J. Bloom re:
                 fee applications; review interim fee order.
07/21/2022 JME   2026-001/ Revlon                                           T                0.60    1,000.00     600.00
                 Citi Litigation                                            L450
                  Arrange for coverage of, prepare for court
                 hearing re: retention application.



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                 Matter Description                          Code        Task Code           Units               Amount
                 Narrative


07/21/2022 JME   2026-001/ Revlon                                        T                   1.20    1,000.00     1,200.00
                 Citi Litigation                                         B160
                  Develop plan for retention applications.
07/21/2022 SFM   2026-001/ Revlon                                        T                   1.00    1,850.00     1,850.00
                 Citi Litigation                                         L100
                 Emails re: hearing; review material.
07/25/2022 SFM   2026-001/ Revlon                                        T                   1.00    1,850.00     1,850.00
                 Citi Litigation                                         L100
                 Review background material and emails re:
                 hearing.
07/30/2022 JME   2026-001/ Revlon                                        T                   1.10    1,000.00     1,100.00
                 Citi Litigation                                         B160
                 Prepare fee application.
                                                                  Client Sort: Revlon       89.20                97,690.00

                                                                        Grand Total:        89.20               $97,690.00




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